This was a suit by appellee against appellant to recover damages alleged to have been sustained by him on or about February 22, 1903, while traveling in the caboose of one of defendant's freight trains in charge of livestock being transported on said train. There was a trial before a jury which resulted in a verdict and judgment for appellee in the sum of $3,100.
Appellant's assignments of error from one to six inclusive, complain of the action of the court below in overruling its general demurrer and certain special exceptions to appellee's petition. The petition in this case is practically the same as that passed upon and held by us not to be subject to general demurrer in the case of Cruseturner v. International  G. N. Ry. Co., 86 S.W. Rep., 778; and, in our opinion, no sufficient reasons have been advanced by appellant requiring us to reverse that holding.
The court below only submitted to the jury as ground of negligence on the part of the employes of appellant operating its train, their alleged *Page 185 
failure to notify or warn appellee of the dangerous location of its car at the time of the accident. Hence there was no reversible error in its refusal to sustain appellant's special exception to the part of appellee's petition alleging that appellant was negligent in not having its caboose supplied with a water-closet; and, besides, in our opinion the absence of a closet might properly be considered by the jury in passing upon the question of whether appellant's employes were bound to know that appellee would be likely to leave the car at stops for the purpose of attending to calls of nature, and in consequence thereof would be negligent if they failed to warn him of the dangerous position of the car at stops or stations.
The action of the court below in overruling appellant's second special exception to appellee's petition was not erroneous, because the question as to whether appellant was negligent in stopping the caboose on the trestle was not submitted to the jury.
Appellant's fourth and fifth assignments of error are overruled. As already stated, we think the petition clearly and specifically alleges facts sufficient to show it to have been the duty of appellant to warn appellee of the dangerous position of the car when it stopped and before the accident occurred.
Appellant's seventh special exception was properly overruled by the court. The acts of the brakeman in going out of the car immediately before appellee attempted to leave same, being manifestly for a like purpose as that of appellee, were proper to be considered by the jury on the question of due care by appellee in going out of the car at the time he did; and also upon the question as to whether it was the duty of appellant to anticipate that appellee might leave the car for the same purpose as the brakeman, and to warn him, appellee, of the danger in doing so. Without entering into a detailed discussion of the facts in the case as shown by the record, we are of opinion that they are sufficient to warrant the jury in finding the appellant guilty of negligence in not notifying or warning appellee of the danger in attempting to leave the car at the time he attempted to do so, and that such negligence was the proximate cause of appellee's injuries, and that such injuries were not the result of dangers ordinarily incident to travel by freight trains. And the testimony also justified the jury in finding that appellee was not guilty of contributory negligence in any of the respects alleged by appellant in its answer; and hence we overrule appellant's assignments of error from the seventh to the eleventh inclusive.
The court properly refused to give to the jury appellant's special instruction No. 3, as it was upon the weight of the testimony; and, further, the court gave to the jury a proper charge upon the subject to which this special charge related, in view of the pleadings and evidence in the case.
Appellant's thirteenth assignment of error is overruled. Its requested special charge No. 4 should not have been given, because same is upon the weight of the testimony, it being a question of fact as to whether the stopping of the train with the caboose on the trestle was necessary in the operation of the train, and, consequently, a risk ordinarily incident to travel on such train, upon which there was a conflict of evidence; and, besides, the refusal of such charge was not prejudicial to appellant *Page 186 
as the jury, under the charge given them, were not authorized to base a recovery for appellee upon the negligence of appellant in stopping the caboose on the trestle, but were authorized to base a recovery solely upon its failure to warn appellee of the danger of attempting to leave the train on the occasion in question, if they found such failure to constitute negligence.
Appellant's fourteenth, fifteenth and sixteenth assignments of error are not well taken. The fact that it was usual and customary for appellant's employes, in the operation of its freight trains, to act as was done on the occasion in question, would not relieve it of the duty to exercise the degree of care imposed upon it by law under the circumstances existing at the time. The special charges Nos. 5 and 6 asked by appellant and refused by the court, announce the affirmative of the above proposition, and hence were properly refused. (International 
G. N. Ry. v. Irvine, 64 Tex. 534; Missouri, Pac. Ry. v. Ivy,71 Tex. 415; Indianapolis  St. L. Ry. v. Horst,93 U.S. 291.) And the first paragraph of the court's main charge to the jury embodied a correct principle of law as applied to the pleadings and evidence in this case. (International  G. N. Ry. v. Halloren, 53 Tex. 46; International  G. N. Ry. Co. v. Welch, 86 Tex. 203; International  G. N. Ry. v. Clark, 81 S.W. Rep., 821; Chicago  A. Ry. v. Arnol, 144 Ill. 261; Williams v. Spokane  N. F. Ry., 80 Pac. Rep., 1103.)
The court did not err in giving to the jury special charge No. 2, requested by the appellee, as such charge correctly explained to the jury what was meant by the expression "in a proper manner" used in the special charge given the jury at the request of appellant, relating to risks assumed by passengers on freight trains.
The paragraph of the general charge of the court below complained of in appellant's eighteenth assignment of error, embodied a correct principle of law as applied to the pleadings and evidence in this case; and the use of "employes" in this paragraph, instead of "employe," was warranted, as the evidence showed that at and prior to the accident, both the conductor and the rear brakeman were in and about the caboose, and apparently engaged together in the operation of the train.
Appellant's nineteenth and twentieth assignments of error are overruled. We do not think appellant's twelfth special instruction a correct presentation of the law as applicable to the facts in this case, it assumes that appellee's injuries were the result of his own negligence, and the language employed in the instruction is somewhat confused and not entirely intelligible; and, further, in our opinion, the main charge of the court, in connection with special charges given at the request of appellant, properly, fully and clearly instructed the jury on the question of contributory negligence, as raised in this case by the pleadings and evidence.
There was no error in the third paragraph of the court's charge. It properly submitted to the jury the issue of fact as to whether the appellee was, under all the surrounding circumstances in evidence, guilty of negligence in alighting from the train at the time he was injured, or acted in doing so as a man of ordinary prudence would have acted under the same or similar circumstances.
Appellant could not have been in any manner prejudiced by the seventh *Page 187 
paragraph of the court's charge, as the jury, in view of other parts of the charge in connection with this paragraph, could not in any event have found in favor of appellee upon the ground that appellant was negligent in not supplying its caboose with a water closet.
For the reasons already stated, we overrule appellant's twenty-third assignment of error. The court below did not err in overruling appellant's eighth special exception to appellee's petition. It was not necessary for appellee to allege in his petition the amounts he could earn before and after he received his injuries. It was sufficient to allege the facts showing his injuries, and the extent thereof, and that his earning capacity had been diminished by reason of such injuries, with an allegation of the amount of damages he had sustained by reason of such injuries; and the proof on the trial would furnish the jury with sufficient data upon which to base their verdict.
There was no error in the charge of the court below on the measure of damages. The language of the charge is such that the jury could not have included in the amount of damages found on account of diminished or impaired capacity to earn money, the value of time already lost. There was ample testimony to authorize the jury to award to appellee damages for diminished capacity to labor and earn money. The testimony showed the physical condition of appellee prior to receiving the injuries, the character and nature of his business and his capacity to perform the duties thereof, the character and extent of the injuries received by him and their effect upon his capacity to perform the duties of his business, resulting in diminishing such capacity and the extent of such diminution. This testimony was sufficient to justify the jury in making the finding complained of; especially as the character and nature of the business of appellee was such as not to admit of direct proof of the value of his services before and after his alleged injuries. (Gainesville, H.  W. Ry. v. Lacy, 24 S.W. Rep., 271; Missouri, K.  T. Ry. v. Vance, 41 S.W. Rep., 171.)
Appellant's twenty-seventh assignment of error is too general to require consideration by us; but we are of opinion that the amount of the verdict of the jury is amply sustained by the evidence.
The judgment of the court below is affirmed.
Affirmed.
Writ of error refused.